            FIRST DISTRICT COURT OF APPEAL
                   STATE OF FLORIDA
                  _____________________________

                         No. 1D2023-1355
                  _____________________________

LEVI BILLY JACK HARVILL,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
                  _____________________________


On appeal from the Circuit Court for Bay County.
Dustin S. Stephenson, Judge.

                          August 21, 2024


LEWIS, J.

    Appellant, Levi Billy Jack Harvill, appeals his convictions and
sentences for six counts of lewd or lascivious exhibition and five
counts of indecent exposure, arguing they violate the Double
Jeopardy Clause of the United States and Florida Constitutions.
For the reasons that follow, we conclude that only four of the five
indecent exposure convictions must be vacated.

                                Facts

    Appellant was charged with six counts of lewd or lascivious
exhibition, in violation of section 800.04(7)(a), (b), Florida Statutes
(2022), and five counts of indecent exposure, in violation of section
800.03(1), (2)(a), Florida Statutes (2022), based on allegations that
he exposed his penis and masturbated in the presence of eleven
individuals on July 24, 2022. Each count alleged a different victim,
with the victims named in the first six counts being less than
sixteen years of age.

     At a bench trial, the victims, members of three families who
were all friends, testified that while they were at the Deer Point
boat ramp and picnic area, they observed Appellant fondling and
exposing his penis to them as he walked around for a long period
of time. According to the victims, Appellant was not urinating, but
rather masturbating with his pants unzipped and pulled down.
Appellant, on the other hand, claimed that he was merely
urinating. The trial court found Appellant guilty as charged in
each count.

    The trial court rejected Appellant’s double jeopardy claim that
he could be convicted and sentenced on only one of the eleven
counts upon finding that the offenses contemplate a victim-based
unit of prosecution. Appellant was adjudicated guilty on each
count, and he was sentenced on counts 1 through 6 to ten years of
imprisonment, followed by five years of sex offender probation, and
on counts 7 through 11 to time served, with all the sentences to
run concurrently. 1 This appeal followed.

                             Analysis

     We review de novo double jeopardy claims based on
undisputed facts. Beasley v. State, 363 So. 3d 122, 123 (Fla. 1st
DCA 2023). Both the United States and Florida Constitutions
contain double jeopardy clauses that prohibit multiple
prosecutions, convictions, and punishments for the same criminal
offense. Id.; see also U.S. Const. amend. V; Art. 1, § 9, Fla. Const.
However, “there is no constitutional prohibition against multiple
punishments for different offenses arising out of the same criminal
transaction as long as the Legislature intends to authorize
separate punishments.” State v. Maisonet-Maldonado, 308 So. 3d
63, 66 (Fla. 2020) (citation omitted). When the statutory language
is void of an explicit statement authorizing separate punishments
for two crimes, the sole method for determining whether multiple

    1 The trial court noted that it would impose the same sentence

even if Appellant could be convicted on only one of the counts.


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punishments violate double jeopardy is the Blockburger 2 “same
elements” test, which is codified in section 775.021(4)(a), Florida
Statutes, and provides that “offenses are separate if each offense
requires proof of an element that the other does not, without
regard to the accusatory pleading or the proof adduced at trial.”
Id. at 66–67. Pursuant to section 775.021(4)(a), we must examine
the statutory elements of the offenses and consider the entire
range of conduct prohibited by the statutes, and we may not
consider the specific conduct charged or proved at trial. Id. at 68,
71. If the offenses are separate, we must next look to the three
exceptions to the Blockburger test: “1. Offenses which require
identical elements of proof. 2. Offenses which are degrees of the
same offense as provided by statute. 3. Offenses which are lesser
offenses the statutory elements of which are subsumed by the
greater offense.” § 775.021(4)(b), Fla. Stat. (2022). If none of the
exceptions apply, “[t]he intent of the Legislature is to convict and
sentence for each criminal offense committed in the course of one
criminal episode or transaction.” Id.

     Furthermore, to determine whether the defendant can be
exposed to convictions and punishments for multiple counts of the
same statutory offense arising out of a single incident without
violating double jeopardy, the court must apply the allowable unit
of prosecution standard, which is a common-sense approach that
requires consideration of the overall statutory scheme and the
language of the statute. State v. Rubio, 967 So. 2d 768, 777–78
(Fla. 2007); see also State v. Johnson, 343 So. 3d 46, 48 (Fla. 2022).
The “a/any” test is a useful, but nonexclusive linguistic tool in
determining the intended unit of prosecution, pursuant to which
the use of the article “a” indicates a legislative intent to make each
item subject to separate prosecution, and the use of the word “any”
suggests that the unit of prosecution is ambiguous. Bautista v.
State, 863 So. 2d 1180, 1183–84, 1188 (Fla. 2003); see also Rubio,
967 So. 2d at 777–78.

     Section 800.04, Florida Statutes (2022), titled “Lewd or
lascivious offenses committed upon or in the presence of persons
less than 16 years of age,” provides in relevant part as follows:


    2 Blockburger v. United States, 284 U.S. 299 (1932).




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    (7) Lewd or lascivious exhibition.--

    (a) A person who:

    1. Intentionally masturbates;

    2. Intentionally exposes the genitals in a lewd or
    lascivious manner; or

    3. Intentionally commits any other sexual act that does
    not involve actual physical or sexual contact with the
    victim, including, but not limited to, sadomasochistic
    abuse, sexual bestiality, or the simulation of any act
    involving sexual activity

    in the presence of a victim who is less than 16 years of
    age, commits lewd or lascivious exhibition.

    (b) An offender 18 years of age or older who commits a
    lewd or lascivious exhibition commits a felony of the
    second degree, punishable as provided in s. 775.082,
    s. 775.083, or s. 775.084.

    (c) An offender less than 18 years of age who commits a
    lewd or lascivious exhibition commits a felony of the third
    degree, punishable as provided in s. 775.082, s. 775.083,
    or s. 775.084.

(Emphasis added.) 3 See also Fla. Std. Jury Instr. (Crim.) 11.10(e)
(providing in part that “‘[i]n the presence of’ means that (victim)
saw, heard, or otherwise sensed that the act was taking place”).
The statute defines “victim” as “a person upon whom an offense
described in this section was committed or attempted or a person
who has reported a violation of this section to a law enforcement
officer.” § 800.04(1)(d), Fla. Stat. (emphasis added).


    3  The remainder of the statute, which proscribes lewd or
lascivious battery, lewd or lascivious molestation, and lewd or
lascivious conduct, similarly uses the language “a person,” except
in section 800.04(4)(a)2., which refers to “any person.” § 800.04,
Fla. Stat.


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    Section 800.03, Florida Statutes (2022), is titled “Exposure of
sexual organs” and provides in pertinent part as follows:

    (1) A person commits unlawful exposure of sexual organs
    by:

    (a) Exposing or exhibiting his or her sexual organs in
    public or on the private premises of another, or so near
    thereto as to be seen from such private premises, in a
    vulgar or indecent manner; or

    (b) Being naked in public in a vulgar or indecent manner.

    (2)(a) Except as provided in paragraph (b), a violation of
    this section is a misdemeanor of the first degree,
    punishable as provided in s. 775.082 or s. 775.083.

    (b) A second or subsequent violation of this section is a
    felony of the third degree, punishable as provided in s.
    775.082, s. 775.083, or s. 775.084.

See also Fla. Std. Jury Instr. (Crim.) 11.9 (noting that “[i]f
defendant is charged only with exposure of sexual organs in public,
the State need not prove that someone was offended. However, for
cases involving exposure of sexual organs on private premises or
so near to be seen from the premises, the jury must be instructed
on element #5,” which is that “[t]he exposure or exhibition of sexual
organs caused offense to one or more persons viewing it”).
Unlawful exposure is a category 2 lesser offense of lewd or
lascivious exhibition. Fla. Std. Jury Instr. (Crim.) 11.10(e).

     First, we must apply the Blockburger same elements test to
determine whether Appellant’s punishments for both lewd or
lascivious exhibition and indecent exposure arising from the same
criminal transaction violate double jeopardy. The two offenses are
separate because each requires proof of an element that the other
does not – age of the victim in section 800.04(7) and location in
section 800.03(1) –, and section 800.04(7) prohibits a wider range
of conduct such that a violation thereof can be established with
proof of an act other than exposure. Additionally, none of the
exceptions in section 775.021(4)(b) apply.          See Maisonet-
Maldonado, 308 So. 3d at 71 (explaining that when two offenses


                                 5
satisfy the same elements test, the third exception does not apply
because “[i]f two statutory offenses are found to be separate under
Blockburger, then the lesser offense is not subsumed by the greater
offense”); State v. Florida, 894 So. 2d 941, 947 (Fla. 2005),
disapproved on other grounds by Valdes v. State, 3 So. 3d 1067 (Fla.
2009) (explaining that section 775.21(4)(b)(3) only applies to
category 1 necessary lesser-included offenses and not to category 2
permissive lesser-included offenses). Given such, Appellant’s
convictions for both lewd or lascivious exhibition and indecent
exposure do not violate double jeopardy.

     Next, we must consider whether Appellant can be convicted of
multiple counts of lewd or lascivious exhibition arising out of a
single incident by determining the allowable unit of prosecution
under section 800.04(7). Appellant asserts that the allowable unit
of prosecution is the number of lewd acts, not the number of
victims, and in support he relies on the Florida Supreme Court’s
holding in State v. Hernandez, 596 So. 2d 671, 672 (Fla. 1992), that
when a defendant commits a single act of lewd behavior in front of
multiple children, he cannot be convicted of a separate count of
lewd act for each child present. Hernandez does not control our
decision because the supreme court construed subsection (3) of
section 800.04, Florida Statutes (1987), which provided as follows:

    Any person who:

    (1) Handles, fondles or makes an assault upon any child
    under the age of 16 years in a lewd, lascivious, or indecent
    manner;

    (2) Commits an act defined as sexual battery under s.
    794.011(1)(h) upon any child under the age of 16 years; or

    (3) Knowingly commits any lewd or lascivious act in the
    presence of any child under the age of 16 years without
    committing the crime of sexual battery is guilty of a
    felony of the second degree, punishable as provided in s.
    775.082, s. 775.083, or s. 775.084. Neither the victim’s
    lack of chastity nor the victim’s consent is a defense to the
    crime proscribed by this section.




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Id. (emphasis added). Section 800.04 was significantly amended
in 1999, with the revisions including the replacement of the phrase
“in the presence of any child” with the phrase “in the presence of a
victim.”

      Section 800.04 now requires the prohibited act to be done “in
the presence of a victim who is less than 16 years of age,” and it
defines “victim” as “a person” upon whom the described offense
was committed or who reported a violation of the statute to the
police. The statute also provides that “[n]either the victim’s lack
of chastity nor the victim’s consent is a defense to the crimes
proscribed by this section” and that “[t]he perpetrator’s ignorance
of the victim’s age, the victim’s misrepresentation of his or her age,
or the perpetrator’s bona fide belief of the victim’s age cannot be
raised as a defense in a prosecution under this section.”
§ 800.04(2), (3), Fla. Stat. The apparent purpose of section 800.04
is to protect children under sixteen from harm that can result from
exposure to lewd acts. See Odom v. State, 561 So. 2d 443, 444 (Fla.
5th DCA 1990). The statute’s use of the article “a” before “victim”
signals a legislative intent to permit prosecution for each victim.

     The Fourth District recently examined a very similar statute
and rejected a double jeopardy challenge to convictions for two
counts of lewd or lascivious exhibition in the presence of a
correctional facility employee, in violation of section 800.09(2)(a),
Florida Statutes (2021), which provided in part that a detained
person may not “intentionally masturbate . . . in the presence of a
person he or she knows or reasonably should know is an
employee.” 4 Brown v. State, 374 So. 3d 832, 836 (Fla. 4th DCA

    4 Section 800.09(2)(a), Florida Statutes, provides as follows:


    (2)(a) A person who is detained in a facility may not:

    1. Intentionally masturbate;

    2. Intentionally expose the genitals in a lewd or lascivious
    manner; or

    3. Intentionally commit any other sexual act that does not
    involve actual physical or sexual contact with the victim,
    including, but not limited to, sadomasochistic abuse,

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2023) (reflecting that the appellant masturbated once in the
presence of two employees). The court determined that the
allowable unit of prosecution under section 800.09(2) is the
number of employees, not the number of lewd acts, because the
statute’s use of the article “a” in the phrase “presence of a person”
indicates that each person present during the exposure will
support a separate charge. Id. The court distinguished Hernandez
because the statute in that case proscribed the knowing
commission of a lewd act in the presence of “any child,” whereas
section 800.09(2) used the word “a” instead of “any,” indicating
that “section 800.09(2)’s focus is on the number of employees
present during the commission of a lewd act, not the number of
distinct lewd acts committed.” Id. The same is true for section
800.04(7).

    Based on the statutory language, the purpose of the statute,
the application of the a/any test, and Brown’s analysis of an
analogous statute, we conclude that the allowable unit of
prosecution under section 800.04(7) is the number of victims, not
the number of lewd acts. Therefore, we affirm Appellant’s
convictions and sentences on the six counts of lewd or lascivious
exhibition.

     Finally, we look for the allowable unit of prosecution under
section 800.03 to determine whether Appellant can be convicted of
multiple counts of indecent exposure arising out of a single
incident. Unlike section 800.04(7), section 800.03(1) is not
amenable to the a/any test as it contains neither word in reference
to the victim. What is more, the statute does not reference a
victim, and it contemplates multiple witnesses to the vulgar act
through its references to the exposure occurring in public. Because
section 800.03(1) is ambiguous, the rule of lenity requires us to
resolve the ambiguity in Appellant’s favor and hold that the
allowable unit of prosecution is the number of exposures, not the
number of persons witnessing it. See § 775.021(1), Fla. Stat. (“The

    sexual bestiality, or the simulation of any act involving
    sexual activity,

    in the presence of a person he or she knows or reasonably
    should know is an employee.


                                 8
provisions of this code and offenses defined by other statutes shall
be strictly construed; when the language is susceptible of differing
constructions, it shall be construed most favorably to the
accused.”); see also Bautista, 863 So. 2d at 1183 (explaining that if
the statute is ambiguous, “the rule of lenity applies to resolve the
ambiguity against turning a single transaction into multiple
offenses”); Hill v. State, 351 So. 3d 1222, 1228 (Fla. 2d DCA 2022)
(applying the rule of lenity to reverse three of the four convictions
for failure to register as a sex offender because the statutes were
ambiguous as to whether the Legislature intended for the offender
to be charged with one or multiple counts of the offense). Thus, we
reverse Appellant’s convictions and sentences on four of the five
counts of indecent exposure.

                            Conclusion

     Therefore, we affirm Appellant’s convictions and sentences on
the six counts of lewd or lascivious exhibition and on one of the five
counts of indecent exposure, but we reverse and remand with
instructions that the trial court vacate the convictions and
sentences on the remaining four counts of indecent exposure as
they violate double jeopardy.

     AFFIRMED in part, REVERSED in part, and REMANDED with
instructions.

ROBERTS and RAY, JJ., concur.

                  _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
               _____________________________


Jessica J. Yeary, Public Defender, and Kasey Lacey, Assistant
Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, and Michael Schaub, Assistant
Attorney General, Tallahassee, for Appellee.



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